
The Disciplinary Review Board having filed with the Court its decision in DRB 17-082, concluding on the record certified to the **274Board pursuant to Rule 1:20-4(f)(default by respondent) that MAXWELL X. COLBY of OCEAN , who was admitted to the bar of this State in 1975, and who has been suspended from the practice of law since March 24, 2017, should be suspended from the practice of law for a period of one year for violating RPC 1.1(a) (gross neglect); RPC 1.3 (lack of diligence); RPC 1.4(b) (failure to keep client reasonably informed about the matter); RPC 3.4(c) (knowingly disobeying rules of a tribunal); RPC 5.5(a)(1) (practicing law while administratively ineligible); RPC 8.1(b) (failure to cooperate with disciplinary authorities); and RPC 8.4(c) (conduct involving dishonesty, fraud, deceit or misrepresentation);
And good cause appearing;
It is ORDERED that MAXWELL X. COLBY is suspended from the practice of law for a period of one year and until the further Order of the Court, effective immediately; and it is further
ORDERED that respondent comply with Rule 1:20-20 dealing with suspended attorneys; and it is further
ORDERED that pursuant to Rule 1:20-20(c), respondent's failure to comply with the Affidavit of Compliance requirement of Rule 1:20-20(b)(15) may (1) preclude the Disciplinary Review Board from considering respondent's petition for reinstatement for a period of up to six months from the date respondent files proof of compliance; (2) be found to constitute a violation of RPC 8.1(b) and RPC 8.4(d) ; and (3) provide a basis for an action for contempt pursuant to Rule 1:10-2; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for *412appropriate administrative costs and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
